      Case 5:22-cv-04486-BLF Document 237 Filed 01/24/23 Page 1 of 3



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14                                   UNITED STATES DISTRICT COURT

15                                 NORTHERN DISTRICT OF CALIFORNIA

16                                          SAN JOSE DIVISION

17   MATT JONES; BRYSON DECHAMBEAU;                     Case No. 5:22-cv-04486-BLF (SVK)
     PETER UIHLEIN; and LIV GOLF, INC.,
18                                                      ADMINISTRATIVE MOTION TO FILE
                    Plaintiffs,                         UNDER SEAL AND TO CONSIDER
19                                                      WHETHER ANOTHER PARTY’S
               v.                                       MATERIAL SHOULD BE SEALED
20
     PGA TOUR, INC.,                                    Judge:     Hon. Beth Labson Freeman
21
                    Defendant.                          Date Filed: August 3, 2022
22
                                                        Trial Date: January 8, 2024
     PGA TOUR, INC.,
23
                    Counter-Claimant,
24
               v.
25
     LIV GOLF, INC.,
26
                    Counter-Defendant.
27

28


                                  ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                         Case No. 5:22-cv-04486-BLF (SVK)
     2042123
      Case 5:22-cv-04486-BLF Document 237 Filed 01/24/23 Page 2 of 3



 1             Pursuant to Civil Local Rule 79-5(f) and the Protective Order entered by this Court, Dkt.

 2   111, Defendant and Counter-Claimant PGA Tour, Inc. (“the TOUR”) respectfully submits this

 3   Administrative Motion to Consider Whether Another Party’s Material Should Be Sealed,

 4   regarding exhibits to the Declaration of Maile Yeats-Rowe filed in support of the TOUR’s

 5   Motion for Leave to Amend the Counterclaim to Add Counter-Defendants (“Yeats-Rowe

 6   Declaration”).

 7             Specifically, the documents subject to this Administrative Motion include:

 8                                           Portions of Document                Party Claiming
                  Document
 9                                                to be Sealed                   Confidentiality

10     Exhibit A to Yeats-Rowe              Highlighted portions             LIV Golf, Inc.
       Declaration (The TOUR’s
11     Proposed Amendment to
       Counterclaim)
12
       Exhibit B to Yeats-Rowe              Highlighted portions             LIV Golf, Inc.
13     Declaration (Redlined
14     version of the TOUR’s
       Proposed Amendment to
15     Counterclaim)

16     Exhibit C to Yeats-Rowe              Entirety                         LIV Golf, Inc.
       Declaration (Document
17     with Bates stamp
18     LIV000299866-299874).

19     The TOUR’s Notice of                 Highlighted portions             LIV Golf, Inc.
       Motion and Motion for
20     Leave to Amend
       Counterclaim to Add
21     Counter-Defendants
22
               Exhibit A to the Yeats-Rowe Declaration is the TOUR’s proposed amendment to the
23
     TOUR’s existing counterclaim. Exhibit B to the Yeats-Rowe Declaration is the TOUR’s proposed
24
     amendment to the TOUR’s existing counterclaim in which the amendments to the existing
25
     counterclaim are reflected in redline. Exhibit C to the Yeats-Rowe Declaration is a document
26
     produced by Plaintiff and Counter-Defendant LIV and that was designated as “CONFIDENTIAL
27
     – ATTORNEYS’ EYES ONLY.” The TOUR’s Notice of Motion and Motion for Leave to
28
     Amend Counterclaim to Add Counter-Defendants contains information previously designated as
                                                        1
                                ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                       Case No. 5:22-cv-04486-BLF (SVK)
     2042123
      Case 5:22-cv-04486-BLF Document 237 Filed 01/24/23 Page 3 of 3



 1   “CONFIDENTIAL – ATTORNEYS’ EYES ONLY” by LIV Golf, Inc. pursuant to the applicable

 2   Protective Order in this action.

 3             The TOUR does not have an interest in confidential treatment of the foregoing

 4   information and document. The TOUR makes this request solely because LIV has designated this

 5   information as confidential under the applicable Protective Order. Nevertheless, in compliance

 6   with its Protective Order obligations and the Civil Local Rules of this District, the TOUR is

 7   submitting under seal, along with this Administrative Motion, an unredacted copy of the

 8   documents referenced above pursuant to Civil Local Rules 79-5(d) and 79-5(e).

 9
     Dated: January 24, 2023                                 KEKER, VAN NEST & PETERS LLP
10

11
                                                       By:   /s/ Elliot R. Peters
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16                                                           PGA TOUR, INC.

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                                                             PGA TOUR, INC.
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                                ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                       Case No. 5:22-cv-04486-BLF (SVK)
     2042123
